           Case5:15-cr-00226-EJD Document22 Filed07/02/15 Page1 of 3



 1   STEVEN G. KALAR
     Federal Public Defender
 2   GRAHAM ARCHER
     Assistant Federal Public Defender
 3   55 S. Market Street, Suite 820
     San Jose, CA 95113
 4   Telephone: (408) 291-7753
     Graham_Archer@fd.org
 5
     Counsel for Defendant, DOUGLAS STORMS YORK
 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )             No. CR 15-00226 BLF
                                           )
13                     Plaintiff,          )             DEFENDANT’S MOTION IN LIMINE NO.
                                           )              8 TO PRECLUDE THE GOVERNMENT
14                                         )             FROM CROSS-EXAMINING DEFENSE
                                           )             WITNESSES WITH “GUILT-ASSUMING”
15   vs.                                   )             QUESTIONS AND HYPOTHETICALS
                                           )
16                                         )             Pretrial Conference: July 16, 2015
                                           )             Time: 2:00 p.m.
17   DOUGLAS STORMS YORK,                  )
                                           )             Trial Date: July 20, 2015
18                     Defendant.          )
     _____________________________________ )             Honorable Beth Labson Freeman
19

20           Defendant Douglas Storms York, by and through his counsel, submits the following motion

21   in limine in conformity with the Court’s pretrial order and Local Rule 47-2. This motion is based

22   upon the attached memorandum of points and authorities, all files and records in this case, and any

23   further evidence as may be adduced at the hearing on this motion. Mr. York reserves the right to

24   supplement this motion during the course of trial as needed.

25   \\\

26   \\\

     Def.’s Motion In Limine No. 8
     CR 15-00226 BLF                                 1
          Case5:15-cr-00226-EJD Document22 Filed07/02/15 Page2 of 3



 1                                              ARGUMENT

 2   I.      The Court Should Preclude the Government From Cross-Examining Defense Witnesses
             With “Guilt-Assuming” Questions and Hypotheticals
 3

 4           A “guilt-assuming” question is a question in which the prosecutor uses the facts underlying

 5   the defendant’s arrest to attack and discredit a defense witness’ testimony. Such questions present

 6   the jury with the ideas that because the defendant has been “arrested,” it is unreasonable: (1) for the

 7   defendant to have a good reputation, or (2) for anyone, specifically the witness, to express a positive

 8   opinion about the defendant. Moreover, the use of such inappropriate questions place the character

 9   witness in a “Catch-22” - whereby the witness must either maintain his position and appear

10   incredible in the face of the prosecutor’s attack or agree with the prosecutor thereby casting a

11   “thirteenth vote” for conviction. Accordingly such questions undermine our criminal justice

12   system’s presumption that a defendant is innocent until proven guilty, See, e.g., United States v.

13   Barta, 888 F.2d 1220, 1225 (8th Cir. 1989) (cross-examination questions regarding whether the

14   defense character witness is familiar with the facts underlying the charge “exceed the bounds of

15   propriety, premised, as [such questions] are, on a presumption of guilt”); United States v. Siers, 873

16   F.2d 747, 749 (4th Cir. 1989) (in case where the defendant asserted self-defense, improper to cross,

17   “Would it change your opinion of [the defendant] being a peaceful person if he shot an individual

18   and wounded him with a sawed-off shotgun?”); United States v. Candelaria-Gonzalez, 547 F.2d 291,

19   293-94 (5th Cir. 1977) (“Government counsel on cross-examination asked if [the defendant’s]

20   indictment would affect the witness’ opinion of him and his reputation in general”).

21           “Guilt-assuming” questions not only undermine the presumption of innocence but they are

22   tantamount to prosecutorial vouching, Cf. Barta, 888 F.2d at 1225 (“These questions permitted the

23   government to improperly bolster the weight of its own evidence by implying that the witness might

24   have answered differently had they heard the same evidence as the jury”). Furthermore, such

25   questions corrupt the jury’s role as the ultimate fact-finder. Jurors have the ability and obligation

26   to decide for themselves based upon the evidence presented what significance they should attach to

     Def.’s Motion In Limine No. 8
     CR 15-00226 BLF                                   2
         Case5:15-cr-00226-EJD Document22 Filed07/02/15 Page3 of 3



 1   the underlying facts and evidence of Mr. York’s actions and character. See United States v. Oshatz,

 2   912 F.2d 534, 538 (2nd Cir. 1990) (“Insofar as non-expert character witnesses are concerned . . . we

 3   believe that the probative value of hypothetical questions such as the one at issue herein is negligible

 4   and should not be asked. The jury is in as good a position as the non-expert witness to draw proper

 5   inferences concerning the defendant’s character from its own resolution of the issue”) (citation

 6   omitted).

 7           Accordingly, Mr. York requests that this Court preclude the government from cross-

 8   examining defense witnesses with “guilt-assuming” questions and hypotheticals.

 9                                             CONCLUSION

10           For the foregoing reasons, and for such other reasons as may appear at the hearing on this

11   motion, Mr. York respectfully requests that the Court grant his motion, and accord such other relief

12   as this Court deems just. Mr. York requests leave to file further motions as may be necessary.

13

14   Dated: July 2, 2015                                     Respectfully submitted,

15
                                                             STEVEN G. KALAR
16                                                           Federal Public Defender

17
                                                                  s/
18                                                           GRAHAM ARCHER
                                                             Assistant Federal Public Defender
19

20

21

22

23

24

25

26

     Def.’s Motion In Limine No. 8
     CR 15-00226 BLF                                    3
